Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.64 Page 1 of 7
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.65 Page 2 of 7
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.66 Page 3 of 7
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.67 Page 4 of 7
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.68 Page 5 of 7
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.69 Page 6 of 7




                  10th     December




                                         THOMAS O. RICE
                                         United States District Judge
Case 2:20-cv-00462-TOR   ECF No. 12   filed 12/10/21   PageID.70 Page 7 of 7
